Case 2:23-cv-16873-MCA-MAH            Document 88            Filed 12/04/24   Page 1 of 18 PageID: 495




                                     10 1 Pa r k A v en ue , 2 8t h Fl oor
                                     Ne w Y or k, Ne w Y or k 1 0 17 8
                                           Te l : (2 1 2 ) 64 3 - 70 0 0
                                           Fa x (2 1 2 ) 6 4 3 - 65 0 0




                                                                                             The Legal Center
                                                                                          One Riverfront Plaza
                                                                                            Newark, NJ 07102
                                                                                           Tel: (973) 643-7000
                                                                                           Fax: (973) 643-6500
   Joseph B. Shumofsky
   Member                                                                       222 Lakeview Avenue, Suite 800
   Admitted In NJ, NY                                                               West Palm Beach, FL 33401
   Direct Dial: 973-643-5382                                                                Tel: (561) 693-0440
   Email:                                                                                  Fax: (561) 828-0142
   jshumofsky@sillscummis.com


                                            December 4, 2024

  VIA ECF
  Honorable Michael A. Hammer
  United States District Court
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101

         Re:     Nina Agdal v. Dillon Danis, 23-CV-16873 (MCA)(MAH)

  Dear Judge Hammer:

         We represent Plaintiff Nina Agdal. We write to apprise the Court that an independent

  forensic specialist conducted an initial inspection of Defendant Dillon Danis’s dead cellular

  phone and determined it is very likely its condition is the result of an intentional effort to render

  it inoperable and, thus, destroy electronically stored information (ESI) central to this case. We

  therefore request that, as a precursor to a motion for spoliation sanctions under Fed. R. Civ. P. 37,

  the Court order Defendant to pay the expenses associated with completing a forensic

  examination of the phone in order to confirm whether the data thereon is unrecoverable, as

  appears to be the case. Plaintiff already incurred over $5,000 in forensic expenses, and, under

  the circumstances, it would be unjust for Plaintiff to bear the additional expenses.
Case 2:23-cv-16873-MCA-MAH            Document 88        Filed 12/04/24      Page 2 of 18 PageID: 496




  Honorable Michael A. Hammer
  December 4, 2024
  Page 2

         The Court is aware of the history of Defendant’s discovery misconduct, which has

  frustrated the prosecution of this case. Defendant’s cellular phone was the exclusive device he

  used during the period at issue to post about Plaintiff and search for content of her to post.

  Third-party discovery revealed that he also used the phone to text with others about his harassing

  conduct and to coordinate future posts about Plaintiff, despite denying under oath that he had

  done so in his interrogatory answers. The phone and its contents are thus crucial to this case. In

  August 2024, after Plaintiff’s repeated requests for text messages and other ESI from the phone,

  and after several Court orders instructing Defendant to provide those materials (including at an

  in-person show cause hearing in July 2024), Defendant informed Plaintiff and the Court for the

  first time that the phone had purportedly “died” in January 2024 and that, as a result, he could

  not access all of the data on the phone (only select images that had been backed up to the cloud).

  Defendant eventually turned the dead phone over to his counsel, who then provided it to us, but

  only after Defendant had ignored several more Court orders between August and October and

  made Plaintiff incur additional expense in chasing him for it. Upon receiving the phone, we

  provided it to a forensic specialist (Erik Rasmussen of Grobstein Teeple LLP) for analysis.

         Pursuant to Court order, in October, we also deposed Defendant related to his discovery

  efforts, specifically with respect to circumstances surrounding the dead phone and his

  preservation efforts. At his deposition, Defendant was unable to offer a credible account

  regarding the loss of the data on his phone (i.e., how his phone “died”) or a reasonable

  explanation for why the data had not been preserved at the outset of this case, considering a

  party’s independent obligation to preserve all relevant data. Based on an initial assessment of the
Case 2:23-cv-16873-MCA-MAH            Document 88        Filed 12/04/24      Page 3 of 18 PageID: 497




  Honorable Michael A. Hammer
  December 4, 2024
  Page 3

  phone, Mr. Rasmussen confirmed that the charging port on the phone has been rendered

  inoperable and the phone will not turn on. Notably, Mr. Rasmussen is of the opinion that

  Defendant’s testimony regarding the condition of the phone—that the device died after he took it

  in the sauna and then subsequently tried to charge it—is contradicted by the design features of

  this particular model of phone (the Apple iPhone 14 Pro Max) and a physical inspection of the

  phone’s condition. Exhibit A, Rasmussen Decl. at ¶¶ 8–11. In other words, our expert indicates

  it appears highly likely that Defendant is lying about how his phone was damaged.

         The potentially spoliated data is unquestionably relevant to the claims and defenses here.

  Mr. Rasmussen believes there are additional measures he can attempt to try and repair the

  damaged components of the phone to turn on, to then try and determine conclusively whether the

  data on the phone is irretrievable. He also believes that, in the event the phone is successfully

  restored, the data logs may also provide some information about what led to its incapacitation.

  Mr. Rasmussen estimates these efforts would cost up to $5,000 for the initial next steps of trying

  to restore the phone to power on and then, if those efforts are successful, between $16,200 to

  $23,500 in additional fees to extract any data that is recoverable. Id. at ¶¶ 17–18.

         The continued forensic examination would definitively answer whether the subject ESI is

  recoverable and is a precursor to bringing a motion for spoliation sanctions under Rule 37.

  Accordingly, given the necessity of this step, Defendant’s obstruction in discovery to date,

  Defendant’s culpability in causing the incapacitation of the phone (which an initial assessment

  determined was likely intentional), and the fact that Plaintiff has already incurred over $5,000 in

  forensic expenses relating to Defendant’s phone, we ask that the Court order Defendant to pay
Case 2:23-cv-16873-MCA-MAH            Document 88        Filed 12/04/24      Page 4 of 18 PageID: 498




  Honorable Michael A. Hammer
  December 4, 2024
  Page 4

  for the costs of the forensic examination. See, e.g., AMG Nat’l Tr. Bank v. Ries, 2011 WL

  3099629, at *5 (E.D. Pa. July 22, 2011) (ordering the defendant to pay the costs of a forensic

  examination of his computer, when the evidence “strongly suggest[ed] that his purpose in

  deleting the files was to prevent their discovery”); ShowCoat Sols., LLC v. Butler, 2019 WL

  3332617, at *5 (M.D. Ala. June 7, 2019), R&R adopted, 2019 WL 3560081 (M.D. Ala. Aug. 5,

  2019) (ordering, as an initial step, that defendants pay the costs of a forensic examination

  concerning a cell phone defendants had destroyed); TLS Mgmt. & Mktg. Servs. LLC v.

  Rodriguez-Toledo, 2017 WL 1155743, at *2 (D.P.R. Mar. 27, 2017) (ordering defendant to pay

  for a forensic examination of a hard drive, when evidence showed defendant had attempted to

  intentionally spoliate data from the hard drive and other electronic devices).

  The Defendant’s Position1

         Defendant opposes Plaintiff’s attempt to impose upon him the expense of Plaintiff’s own

  forensic fishing expedition. This lawsuit is about the posting of a photograph on Twitter that,

  discovery in this case has established, was taken by Plaintiff’s former boyfriend and

  subsequently made available on the internet, along with a multitude of other nude photographs of

  Plaintiff, who earns her living by posing in state of partial and complete undress. In her

  complaint, Plaintiff also references material posted by Defendant that had allegedly been hacked

  from her account. Plaintiff has been provided in discovery a third-party Twitter post of some of

  that content which predates Defendant’s post of the content. Discovery also has established that


  1
    Pursuant to this Court’s prior Order (D.E. 68), requiring any discovery disputes to be presented
  to the Court in a joint letter, we solicited Defendant’s position regarding Plaintiff’s requests and
  included it here.
Case 2:23-cv-16873-MCA-MAH            Document 88        Filed 12/04/24     Page 5 of 18 PageID: 499




  Honorable Michael A. Hammer
  December 4, 2024
  Page 5

  Defendant’s primary means of communication was via messaging (not email or text), and

  Plaintiff has received all of Defendant’s Twitter, What’s App and Facebook messaging. Plaintiff

  also has obtained texts from third parties, none of which suggest that there is a horde of relevant

  texts that Plaintiff has not received or which were destroyed.

         There is no evidence that there is any material of substantial value on Defendant’s non-

  functioning mobile telephone. Therefore, at least in the first instance, Plaintiff should continue

  to incur the expense of any additional forensic examination of the mobile telephone. A spoliation

  motion, or request to shift costs to Defendant, is entirely premature.


                                            *      *       *

         Thank You for the Court’s consideration of this matter.


                                                        Respectfully submitted,

                                                        SILLS CUMMIS & GROSS, P.C.
                                                        /s/ Joseph B. Shumofsky
                                                        Joseph B. Shumofsky, Esq.

                                                        MARCUS NEIMAN
                                                        RASHBAUM & PINEIRO LLP
                                                        /s/ Jeffrey A. Neiman
                                                        Jeffrey A. Neiman, Esq.
                                                        Jason L. Mays, Esq.

  Encl.
  cc:   Counsel for Defendant Dillon Danis (via ECF)
Case 2:23-cv-16873-MCA-MAH   Document 88   Filed 12/04/24   Page 6 of 18 PageID: 500




                        Exhibit A
Case 2:23-cv-16873-MCA-MAH              Document 88     Filed 12/04/24     Page 7 of 18 PageID: 501




                                      UNITED STATES DISTRICT COURT

                                             DISTRICT OF NEW JERSEY



     NINA AGDAL,                                         Case No.: 2:23-cv-16873

                                                         DECLARATION OF ERIK RASMUSSEN
             v.

     DILLON DANIS.



     I, Erik Rasmussen, declare as follows:

             1.       In November 2024, I was engaged by Nina Agdal, whom I understand is the

     Plaintiff in this case, to examine an Apple iPhone 14 Pro Max. I am informed that the iPhone

     belonged to Dillon Danis, the Defendant in the case. I have also reviewed Mr. Danis’s testimony

     about the circumstances in which he claims his phone died—specifically, his testimony that he

     had taken the phone in the sauna with him, and that he was no longer able to charge the phone or

     get it to turn on after that point. 1

             2.       I provide this Declaration for two purposes: First, to provide my professional

     opinion that there is a high likelihood that Mr. Danis’s phone was intentionally damaged (i.e., and

     not damaged in the manner described by Mr. Danis). And second, to explain the initial steps I

     took in inspecting the phone and attempting unsuccessfully to get it to turn on, and to provide an

     estimated cost for next steps in attempting to repair the phone and determine whether any data is

     recoverable.

                                                  Credentials

             3.       I am the Global Head of Cybersecurity and Risk Management Solutions at the

     consulting firm Grobstein Teeple LLP, headquartered in Woodland Hills, California. I am also



             1
               Mr. Danis also testified the phone may have been an iPhone 15, which uses a different
     charging cable than the phone I examined, but for purposes of this Declaration, the distinction between
     the different models it not pertinent as my analysis would be functionally the same.
                                                         1
Case 2:23-cv-16873-MCA-MAH            Document 88        Filed 12/04/24    Page 8 of 18 PageID: 502




     the Chief Executive Officer of Total Executive Security LLC, also headquartered in Woodland

     Hills, California. My curriculum vitae is attached hereto as Exhibit 1.

             4.       My background includes over eighteen years in cybersecurity with a particular

     emphasis on digital forensics of various computer systems and mobile devices, including Apple

     devices such as MacBooks, iPads, and iPhones. I have consulted on cybersecurity-related matters

     for a broad range of clients, including both individuals and public and private entities (e.g.,

     startups, non-profits, health care companies, municipalities, private corporations, and educational

     institutions).

             5.       I spent nearly two years as a deputy prosecuting attorney in Washington State and

     over nine years as a Special Agent with the United States Secret Service, where I was a member

     of the Electronic Crimes Special Agent Program (“ESCAP”) specializing in data breach

     investigations and extensive digital forensics on devices. My assignments also included two years

     at Headquarters assigned to the Cyber Intelligence Section (“CIS”). My work included forensic

     analysis of devices seized during the investigation of transnational cybercrime, to include Apple

     devices, as well as testifying under oath to my findings and drafting affidavits reviewed and

     approved in both federal and state court.

             6.       Following my government service, I worked for Fidelity National Information

     Services (aka “FIS Global”), an international financial technology company and Visa Inc., the

     world’s largest payment card brand. Both positions included digital forensics or review of report

     of findings for major data breaches against merchant computer networks where digital forensics

     were conducted. I have also consulted for nearly eight years in various capacities for cyber

     advisory services, to include testifying as an expert witness in alternative dispute resolution

     (“ADR”) cases, and in both federal and state court, where forensic examination of mobile devices,

     specifically Apple mobile devices, were at issue.




                                                         2
Case 2:23-cv-16873-MCA-MAH           Document 88        Filed 12/04/24      Page 9 of 18 PageID: 503




                              Likelihood of Intentional Damage to iPhone

            8.      When I received Mr. Danis’s Apple iPhone 14 Pro Max, I first attempted to charge

     the phone with a standard lightning cable connector. The phone would not charge and therefore

     could not be powered on. I physically inspected the phone’s exterior but did not observe any

     obvious signs of tampering. For example, there were no bent pins in the lightning connector port,

     nor were there scratch marks indicative of a foreign object being placed in the port. The screen

     was intact, as were the buttons on the side of the phone.

            9.      Once I removed the screen, however, there was corrosion in the interior on the

     lightning connector assembly. This is significant because of the extreme conditions that an

     iPhone 14 Pro Max must be subjected to in order for such corrosion to occur.

            10.     This model of iPhone has what is called an “Ingress Protection” rating of IP68,

     which in relevant part means that the device is designed to stay operational even if it is submerged

     in water for up to 30 minutes at a depth of several meters. 2 Moisture accumulation or high

     humidity from having the phone in a sauna could damage internal components, to include the

     battery, but there was no visible damage to the battery. Moreover, unless the battery is damaged,

     plugging a charging cable into this model of iPhone should have still prompted a liquid detection

     alert on the screen, instructing the user to let the phone dry. Mr. Danis did not testify to seeing

     any kind of alert. In any event I do not recall a scenario in which an iPhone was “fried,” or a

     charging port damaged beyond use, as a result of sauna conditions. 3



            2
             The first numeral of the rating is tied to foreign object/dust related testing, while the second
     numeral is tied to water testing. Nine (9) is the highest numeral the rating system uses for water, which
     provides some indication for just how much water and moisture this model of phone is able to
     withstand.
            3
               Moreover, Mr. Danis testified that he regularly he used the iPhone in the sauna, suggesting a
     familiarity with the potential impact moisture could have on his phone, especially if it was charged
     after exposure to the sauna. Again, this would likely trigger alerts on the phone, which did not appear
     to happen here. Also, based on my training and experience with mobile device forensics generally, if
                                                         3
Case 2:23-cv-16873-MCA-MAH            Document 88           Filed 12/04/24   Page 10 of 18 PageID:
                                            504



           11.      Based on my experience and the condition of the phone, I do not find Mr. Danis’s

    explanation of what happened to his phone to be plausible. Instead, I believe it is highly likely

    that intentional water damage occurred here, because the presence of corrosion (even after a

    period of time has passed whereby the device has “dried” out) indicates that the device was

    exposed to water for a significant period and/or depth greater than what the phone was designed

    to withstand.

           12.      After observing the corrosion on the iPhone, I installed a new lightning connector

    assembly, used different charging cables, and replaced the battery, but these steps were

    unsuccessful in restoring the functionality of the charging port.

           13.      It is possible that through additional efforts, we might be able to get the phone to

    turn on via a charging cable and to identify and repair all damaged components of the phone.

    Evaluating the extent of the damage and whether data is recoverable from the device requires

    obtaining access to the device as a next step. Such access might also provide more information

    about the root cause of the underlying damage and when it occurred.

           14.      Upon instruction, my next step would be to prioritize additional attempts to repair

    the additional components that connect to the charging port inside the iPhone, as the charging

    port is critical for forensic data collection on an iPhone. This is because imaging an iPhone

    requires connecting a lightning connector or USB C connector to the charging port. Forensic

    acquisition via a wireless connection is possible with Android devices but is not currently possible

    with Apple devices like the iPhone at issue.




    phone “sparking” was significant, I would expect both internal and external damage to the phone
    consistent “burn marks.” I would also expect smoke coupled with the sparking, but Mr. Danis did not
    testify to seeing any smoke.
                                                        4
Case 2:23-cv-16873-MCA-MAH              Document 88           Filed 12/04/24   Page 11 of 18 PageID:
                                              505



                                               Estimated Costs

              17.    I estimate that the next step of conducting additional testing and procuring and

    installing new assemblies, parts, etc., in an attempt to replace the damaged components of the

    iPhone, including the charging port, would cost up to $5,000 (inclusive of parts and labor).

              18.    From there, if we are successful in restoring the damaged components of the phone

    and powering it on, assuming the data on the phone has not been deemed irretrievable, I estimate

    that actually extracting the data, decrypting it if necessary, and generating pertinent reports such

    as text messages, log files, and so forth, could range between $16
                                                                    16,000 to $23
                                                                               23,500
                                                                                   00, a range that

    depends on a number of variables including the amount of data and whether the damage to the

    phone impacts the ability of the data to be retrieved forensically as opposed to more manual

    methods (which could require significant analyst time).

              I declare under penalty of perjury of the laws of the United States of America and the State

    of California that the foregoing is true and correct to the best of my information, knowledge, and

    belief.

              Executed on November 19, 2024 at Los Angeles


    .




                                                          5
        Case 2:23-cv-16873-MCA-MAH               Document 88           Filed 12/04/24      Page 12 of 18 PageID:
                                                       506




ERIK K. RASMUSSEN
Principal | JD, CISSP, MS

Areas of Expertise
Practice focus in the following key areas:
    • Cyber Risk Assessments Assist companies in maturing their information security programs, incident response
        planning and mapping security controls to frameworks like NIST, PCI or the CIS Critical Security Controls (CSCs).
    • Chief Information Security Officer (CISO) and Chief Security Officer (CSO) Advisory Services By serving as a
        virtual or consulting CISO/CSO, Mr. Rasmussen helps companies create, implement, and review information
        security and physical security policies and procedures, developing security elements like incident response
        teams and insider threat programs, assisting in transitional hiring, conduct physical security assessments and
        administer table top exercises and other simulations for measuring the maturit
        posture.
    • Digital Forensics and Incident Response Mr. Rasmussen has led hundreds of investigations into network
        intrusions to steal payment cards, deploy ransomware, and compromise data that is a risk to national security.
        Mr. Rasmussen is trained and knowledgeable about mobile forensics, server/netwo rk forensics, general
        computer forensics, cloud forensics and live forensics using endpoint detection tools and industry standard
        digital forensics software and tools.
    • Penetration Testing Mr. Rasmussen leads a team that conducts both internal and external penetration testing
        to identify vulnerabilities and to generally system security, conducts open-source intelligence gathering for
        testing or risk exposure, deep/dark web searches, threa

    •    Expert Witness Consulting Mr. Rasmussen provides expertise in both state and federal legal proceedings, as
         well as alternative dispute resolution venues such as AAA and JAMS, by way of authoring court declarations,
         being deposed on behalf of clients, preparing clients for litigation by advising on various cybersecurity matters,
         and professional opinion/advice on forensic investigations or regulatory frameworks. Qualified as an expert in
         both state court and federal court

Certifications and Licenses

    •
    •    BSIS Firearm Permit, #2679194 (California)
    •    BSIS Security Guard License, #6724709 (California)
    •    Tactical Emergency Casualty Care for Law Enforcement and First Responders (TECC-LEO), October 2023 Certified
         Information Systems Security Professional (CISSP), ISC2, 2014 - Present
    •    Bar Member, Washington State Bar Association (WSBA), 2003 Present

Employment History

    •    Total Executive Security LLC, Los Angeles, California (2024    present):
    Case 2:23-cv-16873-MCA-MAH               Document 88          Filed 12/04/24       Page 13 of 18 PageID:
                                                   507


         o   As the CEO of TES, I lead client delivery with various corporate security services, such as physical security
             assessments, executive protection services, and other investigative services, to include, but not limited
             to, surveillance and security integration services. TES also coordinates event security planning services
             with partner companies.

•    Grobstein Teeple LLP, Los Angeles, California (2018 present):

         o   As the Global Head of Cybersecurity and Risk Management Solutions, I lead a professional services team
             of digital forensics/incident responders, risk managers and information security experts. I also manage a
             P&L of approximately $1.2 million with global Fortune 500 clients, non-profit organizations, educational
             institutions, insurance brokers and high-net worth individuals.

•    Kroll Cyber Security LLC, Los Angeles, California (2016   2017):

         o   As a Managing Director, I led a team of digital forensics/incident responders, risk managers and
             information security experts. I also created the Payment Card Industry (PCI) program at Kroll, which
             included a team of PCI Forensic Investigation experts.

•    Visa Inc., Ashburn, Virginia (2014 2016):

         o
             threat intelligence, breach identification protocols, and cyber fraud data.

•    FIS Global, Reston, Virginia (2013 2014):

         o   As an IT Security Manager, I assisted the internal incident response team at FIS Global, the Chief
             Information Security Officer, and his two Deputy Chief Information Security Officers in managing
             internal risk management, to include fraud incidents, employee misconduct, and data security incidents.

•    United States Secret Service, Seattle, Washington | Los Angeles, California | Washington, DC (2004         2013):

         o   As a Special Agent with the USSS, I conducted domestic and international computer crimes
             investigations and prepared federal charging documents with the Department of Justice for criminal
             violations related to Access Device Fraud, Bulletproof Hosting Services, Child Pornography, Distributed
             Denial of Service (DDoS) Attacks, Internet Relay Chat (IRC) Botnet Attacks, and Wire Fraud. From 2009 to
             2011, I was a member of the Los Angeles FBI Joint Terrorism Task Force, where I conducted
             investigations into domestic terrorism and international terrorism.

•                                                                                  2004):

         o   As a Deputy Prosecuting Attorney, I prosecuted both general misdemeanors and domestic violence
             misdemeanors and chaired 15 bench and jury trials.

•
       Case 2:23-cv-16873-MCA-MAH               Document 88          Filed 12/04/24       Page 14 of 18 PageID:
                                                      508


            o   As an intern, I observed and assisted JAG officers with Legal Assistance matters, Trial Defense Service

                (CID).

Education

        Master of Science, Leadership, The Citadel Graduate College, Charleston, SC, 2024
        Juris Doctor, Seattle University School of Law, 2003
        Bachelor of Arts, History; Departmental Honors with Distinction, Occidental College, 2000

Professional Affiliations

        Member, Georgetown University Wargaming Society, 2024 present
        Member, Fight Club International, 2024 present
        Member, Unites States Secret Service Association, 2024 - present
        Member, U.S. Naval Institute, 2023 - present
        Member, Institute for Critical Infrastructure Technology (ICIT), 2023 - present
        Member, California Receivers Forum, 2022
        Young Professionals Council, California Receivers Forum, 2021-2022
        Member of ASIS International, February 2018 February 2019
        Member of Information Systems Security Association (ISSA), January 2017       December 2017
        Member of Association of Threat Assessment Professionals, July 2016      2018
        Advisory Board Member, Flashpoint Partners, 2015      2019
        Member of International Information Systems Security Certification Consortium, Inc. (ISC2), 2014 - Present
        Washington State Bar Association (WSBA), 2003 Present

Speaking Engagements
   •    Guest Speaker, Chapman University, November 2024.
   •    Webinar participant, CDR Case Files: Incident Response At a Law Firm (Part 1), Obsidian Security, April 2020.
   •
        December 2019.
   •    Presenter, CyberSecure LA, Graziado Business School, Pepperdine University, October 2019.
   •
        December 2018.
   •    Presenter, CyberSecure LA, Graziado Business School, Pepperdine University, October 2018.
   •
        October 2017.
   •    Hot Topics in Data Breach: Information Security Trends, Bradley/Kroll Webinar, Reston, Virginia, June 2016.
   •                   -of
                        of-Sale Malware, Visa Inc. Webinar, Ashburn, Virginia, January 2016.
   •    Data Breach Findings, CIO Summit, Washington, DC, December 2015.
       Case 2:23-cv-16873-MCA-MAH                 Document 88          Filed 12/04/24        Page 15 of 18 PageID:
                                                        509


   •    Breaking Cybercrime: Real-                                                                          Washington, DC,
        October 2015.
   •    Game of Drones: New Breach Detection Methods, IBM i2 Summit for a Safer Planet, Washington, DC, September
        2015.
   •    Best Practices in Cyber Threat Information Sharing, NG Security Summit, San Antonio, Texas, May 2015.
   •    Identifying and Mitigating Threats to E-Commerce Payment Processing, Visa Inc. Webinar, Ashburn, Virginia,
        March 2015.
   •    The Lifecycle of Cybercrime, RSA, San Francisco, February 2013.
   •    The Faces of Fraud: An Inside Look at the Fraudsters and Their Schemes, RSA, San Francisco, February 2012.

Training
   •    PFI New 2023 Fundamentals, PCI SSC, October 2023
   •    PFI Fundamentals Course, PCI SSC, July 2023
   •    Leveraging the Intelligence Cycle, ISC2, May 2023
   •    Ransomware: Identify, Protect, Detect, Recover, ISC2, May 2023
   •    Securing the Remote Workforce, ISC2, May 2023
   •    Navigating Cyber Insurance, ISC2, May 2023
   •    Payment Card Industry Qualified Security Assessor (QSA), PCI SSC, 2016 - 2018
   •    FS-ISAC Cyber Threat Intelligence Training, FS-ISAC, 2015
        FS
   •    Private Sector Overseas Security Seminar, Overseas Security Advisory Council (OSAC), 2014
   •    Computer Attack Methods, Central Intelligence Agency (CIA), 2012
   •    Prevention of and Response to Suicide Bombing Incidents (PRSBI), Department of Homeland Security (DHS),
        2010
   •    Introduction to Networks and Computer Hardware, Defense Cyber Investigations Training Academy (DCITA),
        2006
   •
   •    Basic Internet Investigations, Federal Bureau of Investigation
   •    LiveWire Network Forensics, WetStone
   •    Digital Forensics, Paraben Corporation
   •                                             Principal | CISSP, JD, QSA
   •    Critical Systems Protection Initiative, United States Secret Service
   •    Network Intrusion Responder Program, United States Secret Service
   •    Basic Investigation of Computer and Electronic Crimes Program (BICEP), United States Secret Service

Thought Leadership

   •
                        Today’s General Counsel, December 2022.
   •                                  -               Washington State Bar News, July/August 2020.
ERIK RAS
Litigation Experience

   •    Netlogic Solutions, Inc. v. Anil Dhondi, In the Circuit Court for Fairfax County, 2024. (State Civil Case).
    Case 2:23-cv-16873-MCA-MAH                Document 88         Filed 12/04/24        Page 16 of 18 PageID:
                                                    510


          o Testified by deposition.
•    Tin Packing Ltd. et al. v. Kang Li et al. Middle District of Tennessee, 2024. (Federal Civil Case).
•    State of California v. Galina Migalko and Robert Young, Superior Court of the State of California, 2024 (State
     Criminal Case).
          o Testified in motion hearing.
•    Netlogic Solutions, Inc. v. ZoleyTech, Inc., American Arbitration Association, 2023 (Arbitration).
          o Expert testimony.
•    Olivine, Inc. v. Zero Net Energy Alliance, Inc. et al., Superior Court for the State of California, Yolo County, 2023
     (State Civil Case).
•    Lindabeth Rivera, et al. v. Google, LLC, Cook County Chancery Division, 2023 (State Civil Case).
•    John Doe v. Serbian Orthodox Diocese of Western America, Superior Court for the State of California, Los
     Angeles, 2022 (State Civil Case).
•    In the Matter of: First American Title Insurance Company, Respondent, New York State Department of Financial
     Services, 2021 (State Civil Case).
•    In Re: Marriott International Customer Data Security Breach Litigation, District of Maryland, Southern Division,
     2021 (Federal Civil Case).
          o Testified by deposition.
•    Honor Finance, LLC, Honor Finance Holdings, LLC v. Spireon, Inc., Superior Court of the State of California, County
     of Orange, 2021 (State Civil Case).
•    CMZ of Hawaii, Inc. v. Pacific Foundation, Inc.,
          o Testified by deposition.
•    People v. Kailin Wang, Superior Court of California County of San Francisco, 2021 (State Criminal Case).
•    United States v. Joshua Thomas Bales, Western District of Washington, 2021 (Federal Criminal Case).
•    Emmalee Forrester et al v. Clarenceville School District et al, Eastern District of Michigan, 2020 (Federal Civil
     Case).
•    Rachel Sims v. Little Rock Plastic Surgery P.A., Eastern District of Arkansas, 2020 (Federal Civil Case).
•    Iacovacci v. Brevet Holdings et al, Southern District of New York, 2020 (Federal Civil Case).
          o Testified by deposition.
•    Quid, Inc. v. Primer Technology, Inc. et al, Superior Court for the State of California, San Francisco, 2020
     (Arbitration).
          o Testified by deposition.
•    Danford v. Lowes, Western District of North Carolina, 2019 (Federal Civil Case).
•    Mitchell v. Marketing Corporation of America d/b/a Fine Art Models, St. Clair County Circuit Court, Michigan
     (State Civil Case).
          o Testified at trial.
•    Thygesen v. Wang, Superior Court for the State of California, San Francisco, 2019 (State Family Law Case).
•    In re Jonathan Edward Anderson and Amanda Marie Anderson / Jeremy W. Faith, Chapter 7 Trustee, Plaintiff v.
     Samantha L. Caron and James S. Caron, Central District of California, 2019 (Federal Bankruptcy Case).
•    Waldbaum v. Slodzinski, et al. Circuit Court of Maryland, Baltimore City, 2019 (State Civil Case).
•    Laughlin v. Sinai Hospital, Circuit Court of Maryland, Baltimore City, 2018 (State Civil Case).
•    Chelsea Hamilton v. Wal-Mart Stores, Inc. et al, Central District of California, 2018 (Federal Civil Case).
•    Ortolani v. Freedom Mortgage Corporation, Central District of California, 2018 (Federal Civil Case).
•    KCG Holdings v. Rohit Khandekar, Southern District of New York, 2017 (Federal Civil Case).
          o Testified by deposition.
       Case 2:23-cv-16873-MCA-MAH               Document 88         Filed 12/04/24        Page 17 of 18 PageID:
                                                      511


   •    Alexis v. Rogers, District Court for Southern California, 2017 (Federal Civil Case).
   •    United States v. Sergey Vovnenko, District of New Jersey, 2013 (Federal Criminal Case).
   •    United States v. Andriy Derkach, Eastern District of Virginia, 2012 (Federal Criminal Case).
            o Testified at federal grand jury proceeding.
   •    United States v. Robert Bentley, Northern District of Florida, 2007 (Federal Criminal Case).
            o Testified at federal grand jury proceeding.
   •    United States v. Marcus McGrath, Central District of California, 2007 (Federal Criminal Case).
            o Testified at federal grand jury proceeding.

*Multiple jury trials, court appearances and motion hearings as a Deputy Prosecuting Attorney


Examples of Experience

   •    Virtual CISO support for humanoid robotics AI firm with almost a $3 billion valuation.
   •    Virtual CISO support for insurance brokerage firms, nonprofits, international ticket brokerages, AmLaw 100 law
        firms, and various small businesses.
   •    Digital forensics incident response support for multiple ransomware attacks, to include the following
        ransomware families: Conti, Hive, Locky, and Zeppelin.
   •
   •    Digital forensics incident response support for national restaurant groups, municipalities, real estate companies,
        and various other entities suffering from ransomware attacks, Magento e-commerce attacks, and other
        suspected or actual network intrusions.
   •    Digital forensics support and forensic accounting assistance for a Los Angeles-based radio station in an internal
        investigation into fraud and embezzlement.
   •    Digital forensics support in the automotive industry in Schrage v. Schrage, a receivership matter for Sage
        Automotive Group that has required the forensic acquisition of dozens of systems, cyber risk assessment work,
        and specialized forensic analysis of legacy IBM systems.
   •    Ongoing cyber risk assessment support, mobile forensics support and computer forensics support for a regional
        aerospace firm.
   •    CISO support to a global e-discovery firm, insurance brokerages, a medical facility, a global non-profit, and
        various hospitality and law firm clients.
   •    Led numerous engagements or provided court declarations in which employees were accused of siphoning
        sensitive company data via both digital methods, such as cloud-based services, and through physical means,
        such as surreptitiously photographing financial data for use by a criminal organization.
   •    Led or oversaw offerings of governance and risk assessments for global retailers, e-commerce companies,
        nonprofit organizations, Presidential libraries, educational institutions and various aviation and defense
        contractors.
   •    Managed several international payment card breaches and assisted in the arrest of transnational targets of
        enterprise level data breaches.
    Case 2:23-cv-16873-MCA-MAH             Document 88         Filed 12/04/24      Page 18 of 18 PageID:
                                                 512


•    Provided expert testimony for medical center breaches in litigation, and counseled insurance companies dealing
     with insider threats, billionaire fund managers addressing online and email cyber threats, and theft of trade
     secrets.
•    Led or trained global asset management firms, payment processors in interviewing techniques, and Interpol for
     cyber fraud trends.
•    Provided security support for private wealth management firms, global supply chain companies, celebrities and
     other high net worth entities or individuals that have either experienced an incident or seek improvement in
     their internal security capabilities.
